   Fill in this information to identify the case:

Debtor 1                 Bernadette Neely
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Michigan
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1841619
Case number __________________________



 Official Form 410S1
 Amended Notice of Mortgage Payment Change                                                                                                             12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                            3
                                                                                                  Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                  Date of payment change:
                                                                                                  Must be at least 21 days after date
                                                                                                  of this notice                            06/01/2020
                                                                                                                                            _____________


                                                                                                 New total payment:
                                                                                                                                            1166.39
                                                                                                                                           $________________
                                                                                                 Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                     4 ____
                                                                   ____ 0 ____
                                                                           0 ____
                                                                               3

   Part 1:            Escrow Account Payment Adjustment

 1.        Will there be a change in the debtor’s escrow account payment?

              No
           
           ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
               for the change. If a statement is not attached, explain why:



                                          340.72
               Current escrow payment: $ _________________                                                                       491.08
                                                                                                           New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

 2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
           variable-rate account?
           
           ✔   No
              Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
               attached, explain why:



               Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


      3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
            ✔
                No
                Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                               New mortgage payment: $ _________________

           18-41619-mar
 Official Form 410S1                         Doc 54           Filed Notice of Mortgage
                                                                    05/06/20           Payment05/06/20
                                                                                    Entered   Change   12:13:38                         Page 1 of 6 page 1
                     Bernadette Neely                                                                          1841619
      Debtor 1       ________________________________________________________              Case number (if known) ______________________
                     First Name         Middle Name      Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Tavon Taylor
      ______________________________________________________________
      Signature
                                                                                       05/06/2020
                                                                                 Date _______________




 Print:______________________________________________________________
        TAYLOR,TAVON                                                              VP Loan Documentation
                                                                                 ____________________________________________________________
        First Name                Middle Name            Last Name               Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                    Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                          State     ZIP Code



                     800-274-7025                                                 NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                         ____________________________________________________________
                                                                                 Email




Official Form 410S1                                        Notice of Mortgage Payment Change                                               page 2
         18-41619-mar                    Doc 54       Filed 05/06/20      Entered 05/06/20 12:13:38                   Page 2 of 6
                                 Return Mail Operations                                   Escrow Review Statement
                                 PO Box 14547
                                                                                          For informational purposes only
                                 Des Moines, IA 50306-4547
                                                                                          Statement Date:                                     April 9, 2020
                                                                                          Loan number:
                                                                                          Property address:
                                                                                                17350 SANTA ROSA DRIVE
                                                                                                DETROIT MI 48221-2608


                                                                                          Customer Service
                                                                                                 Online                          Telephone
                                                                                                 wellsfargo.com                  1-800-340-0473
          BERNICE NEELY
                                                                                                 Correspondence                  Hours of operation
          BERNADETTE NEELY                                                                       PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          17350 SANTA ROSA DRIVE                                                                 Des Moines, IA 50306
          DETROIT MI 48221                                                                       To learn more, go to:
                                                                                                 wellsfargo.com/escrow


                                                                                                   We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                             The escrow account has a shortage of
Here's what we found:
     • Required Minimum Balance: The escrow account balance is projected to                              $1,149.41
        fall below the required minimum balance. This means there is a shortage.

     • Payments: As of the June 1, 2020 payment, the contractual portion of the
        escrow payment increases.



  Part 1 - Mortgage payment

       Option 1                  Pay the shortage amount over 12 months
                                  Previous payment through New payment beginning with
                                  05/01/2020 payment date   the 06/01/2020 payment
                                                                                                Option 1: No action required
 Principal and/or interest                   $675.31                  $675.31

 Escrow payment                             $340.72                   $491.08               Starting June 1, 2020 the new contractual
 Total payment amount
                                                                                            payment amount will be $1,166.39
                                         $1,016.03                 $1,166.39

       Option 2                  Pay the shortage amount of $1,149.41
                                  Previous payment through New payment beginning with
                                  05/01/2020 payment date   the 06/01/2020 payment
                                                                                                Option 2: Pay shortage in full
 Principal and/or interest                   $675.31                  $675.31

 Escrow payment                             $340.72                   $395.30               Starting June 1, 2020 the new contractual
 Total payment amount                                                                       payment amount will be $1,070.61
                                         $1,016.03                 $1,070.61




                                                       See Page 2 for additional details.


                                        Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                        States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                        Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                        payments, please contact your attorney or the Trustee’s office before directly sending any
                                        amounts relating to this escrow shortage

                                                                  If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                  and mail it along with a check for $1,149.41 to the address that appears on this coupon.
  BERNICE NEELY
  BERNADETTE NEELY                                                This payment must be received no later than June 1, 2020.


              Wells Fargo Home Mortgage
              PO Box 10394
              Des Moines, IA 50306-0394




        708
          18-41619-mar                0 10
                                     Doc 54 02Filed
                                                 00101603
                                                    05/06/20 00107061   00216544
                                                               Entered 05/06/20     00114941
                                                                                12:13:38 Page 83 of 6
                                                                                                                                              Page 2 of 3
                                                                                                                       Loan Number:


     Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $1,893.98. For the coming year, we expect the amount paid from escrow to be
$4,743.63.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                     03/18 - 02/19      12/18 - 11/19       06/19 - 04/20   06/20 - 05/21
                                                                                                                      # of               escrow
                                       (Actual)           (Actual)            (Actual)       (Projected)
                                                                                                                     months              amount

Property taxes                             $1,808.87         $1,848.83          $1,893.98      $1,893.98      ÷         12        =          $157.83
Property insurance                         $2,279.72         $2,849.65             $0.00      $2,849.65       ÷         12        =         $237.47
Total taxes and insurance                  $4,088.59         $4,698.48          $1,893.98     $4,743.63       ÷         12        =         $395.30
Escrow shortage                                $0.00             $0.00             $0.00      $1,149.41       ÷         12        =           $95.78**

Total escrow                               $4,088.59         $4,698.48          $1,893.98     $5,893.04       ÷         12        =          $491.08


**
    This amount is added to the payment if Option 1 on page 1 is selected.


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                   (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance July, 2020                                        -$533.30         table)

Bankruptcy adjustment‡                                                  +          $174.49

Minimum balance for the escrow account†                                 -         $790.60          (Calculated as: $395.30 X 2 months)


Escrow shortage                                                         =       -$1,149.41


‡
 This adjustment of $174.49, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
contract to determine the cash reserve.




              18-41619-mar             Doc 54          Filed 05/06/20           Entered 05/06/20 12:13:38                Page 4 of 6
                                                                                                                                                       Page 3 of 3
                                                                                                                           Loan Number:



  Part 3 - Escrow account projections
Escrow account projections from June, 2020 to May, 2021
                                         What we
               Payments to               expect to                                                                Projected escrow        Balance required
Date             escrow                   pay out         Description                                                 balance              in the account
May 2020                                                  Starting balance                                              -$488.43                     $835.47
Jun 2020             $395.30                   $0.00                                                                     -$93.13                    $1,230.77
Jul 2020             $395.30                  $835.47     DETROIT CITY (W)                                              -$533.30                    $790.60
Aug 2020             $395.30                   $0.00                                                                    -$138.00                    $1,185.90
Sep 2020             $395.30                   $0.00                                                                     $257.30                    $1,581.20
Oct 2020             $395.30                   $0.00                                                                     $652.60                    $1,976.50
Nov 2020             $395.30                   $0.00                                                                    $1,047.90                   $2,371.80
Dec 2020             $395.30                $1,058.51     DETROIT CITY (W)                                               $384.69                    $1,708.59
Jan 2021             $395.30                   $0.00                                                                     $779.99                    $2,103.89
Feb 2021             $395.30                   $0.00                                                                    $1,175.29                   $2,499.19
Mar 2021             $395.30                   $0.00                                                                    $1,570.59                   $2,894.49
Apr 2021             $395.30                   $0.00                                                                    $1,965.89                   $3,289.79
May 2021             $395.30                $2,849.65     USAA                                                          -$488.46                     $835.44

Totals             $4,743.60                $4,743.63



  Part 4 - Escrow account history
Escrow account activity from June, 2019 to May, 2020
                        Deposits to escrow                  Payments from escrow                                                    Escrow balance
   Date        Actual      Projected Difference         Actual   Projected Difference             Description           Actual         Projected Difference
Jun 2019                                                                                       Starting Balance         -$1,875.66        $795.51       -$2,671.17
Jun 2019        $340.37        $340.72       -$0.35        $0.00             $0.00    $0.00                             -$1,535.29      $1,136.23      -$2,671.52

Jul 2019        $340.37        $340.72       -$0.35      $835.47        $795.51       $39.96   DETROIT CITY (W)        -$2,030.39        $681.44       -$2,711.83

Aug 2019        $680.74        $340.72      $340.02        $0.00             $0.00    $0.00                             -$1,349.65      $1,022.16      -$2,371.81

Sep 2019        $340.37        $340.72       -$0.35        $0.00             $0.00    $0.00                            -$1,009.28       $1,362.88      -$2,372.16

Oct 2019        $340.37        $340.72       -$0.35        $0.00             $0.00    $0.00                              -$668.91       $1,703.60      -$2,372.51

Nov 2019        $340.72        $340.72        $0.00        $0.00             $0.00    $0.00                              -$328.19      $2,044.32       -$2,372.51

Dec 2019        $340.72        $340.72        $0.00     $1,058.51      $1,013.36      $45.15   DETROIT CITY (W)        -$1,045.98       $1,371.68      -$2,417.66

Jan 2020        $340.72        $340.72        $0.00        $0.00             $0.00    $0.00                              -$705.26       $1,712.40      -$2,417.66

Feb 2020        $681.44        $340.72      $340.72        $0.00             $0.00    $0.00                               -$23.82       $2,053.12      -$2,076.94

Mar 2020        $340.72        $340.72        $0.00        $0.00             $0.00    $0.00                               $316.90      $2,393.84       -$2,076.94

Apr 2020       $1,703.60       $340.72    $1,362.88        $0.00             $0.00    $0.00                             $2,020.50       $2,734.56        -$714.06
(estimate)

May 2020        $340.72        $340.72        $0.00     $2,849.65     $2,279.72      $569.93   USAA                      -$488.43        $795.56       -$1,283.99
(estimate)

Totals         $6,130.86    $4,088.64     $2,042.22     $4,743.63     $4,088.59      $655.04




Wells Fargo Home Mortgage is a division of Wells Fargo Bank, N.A. ©2019 Wells Fargo Bank, N.A. All rights
reserved. NMLSR ID 399801 9/19
             18-41619-mar            Doc 54           Filed 05/06/20             Entered 05/06/20 12:13:38                    Page 5 of 6
18-41619-mar   Doc 54   Filed 05/06/20   Entered 05/06/20 12:13:38   Page 6 of 6
